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                              IN THE UNITED STATES DISTRICT COURT
                              FOR THE NORTHERN DISTRICT OF TEXAS
                                       AMARILLO DIVISION

                                                 AMENDED
                                   Alternative Dispute Resolution Summary


      Provider must file completed form, in duplicate, with the U.S. District Clerk upon completion of
      ADR.

 1.   Civil Action number: 2:19-CV-210-Z-BR
 2.   Style of case: LITTLE MIRACLES INTERNATIONAL, INC. vs JENNIFER GERTH
 3.   Nature of suit: CONTRACT DISPUTE.
 4.   Method of ADR used:       X Mediation           Mini-Trial               Summary Jury Trial
 5.   Date ADR session was held: 06/24/20
 6.   Outcome of ADR (Select one):

       Parties did not use my services.                    Settled, in part, as result of ADR
       Settled as a result of ADR.                         Parties were unable to reach settlement.
       Continue to work with parties to reach settlement (Note: provider must file supplemental ADR Summary
      Form at conclusion of his/her services)
 7.   What was your TOTAL fee: $3200.00
 8.   Duration of ADR: Full Day (i.e., one day, two hours)
 9.   Please list persons in attendance (including party association, i.e., defendant, plaintiff):
      (Provider)


       Russell Schell, Esq., Pltf Counsel
       Tim Ryan, Esq., Pltf Counsel
       Kristin Mijares, Esq., Pltf Counsel
       Jonathan Little, Esq., Def Counsel
       Derrick Morgan, Esq., Def Counsel
       Ali Saeed, Esq., Def Counsel
       DANA MCARTHUR – Mediator


 Please provide the names, addresses, and telephone number of counsel on the reverse of this form.

 10. Provider information:

      /S/Dana McArthur
                                                                               July 10, 2020
      Signature                                                                Date

      4514 Cole Avenue, Dallas, TX 75205-4181                                  (214)528-1411
      Address                                                                  Telephone
